                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

RICHARD K. DOZIER                            )
And GAIL B. DOZIER,                          )
                                             )
       Plaintiffs,                           )              Case No. 3:14-0127
                                             )
v.                                           )              Judge Crenshaw
                                             )              Jury Demand
STANDARD FIRE                                )
INSURANCE COMPANY,                           )
                                             )
       Defendant.                            )
                                             )


                     STIPULATION OF DISMISSAL WITH PREJUDICE


       As evidenced by the signatures of counsel for the parties, all matters in controversy

arising in this action have been resolved and this case should be dismissed with prejudice.

       It is, THEREFORE ORDERED, ADJUDGED AND DECREED                      that this action is

dismissed with prejudice. The parties are responsible for their own discretionary costs.

       IT IS SO ORDERED

                           17th day of August 2016.
       ENTERED this the ______




                                                     Waverly D. Crenshaw, Jr.
                                                     United States District Judge




     Case 3:14-cv-00127 Document 44 Filed 08/17/16 Page 1 of 2 PageID #: 249
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                                         2

      Case 3:14-cv-00127 Document 44 Filed 08/17/16 Page 2 of 2 PageID #: 250
